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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-707V
                                         UNPUBLISHED


    STEVEN S. FLOYD,                                           Chief Special Master Corcoran

                         Petitioner,
    v.                                                         Filed: November 1, 2021

    SECRETARY OF HEALTH AND                                    Special Processing Unit (SPU);
    HUMAN SERVICES,                                            Proffer; Tetanus-Diphtheria-acellular
                                                               Pertussis (Tdap); Shoulder Injury
                        Respondent.                            Related to Vaccine Administration
                                                               (SIRVA).

William E. Cochran, Jr., Black McLaren et al., P.C., Memphis, TN , for Petitioner.

Lara Ann Englund, U.S. Department of Justice, Washington, DC, for Respondent.

                                       DECISION ON DAMAGES1

       On May 14, 2019, Steven S. Floyd filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that as a result of his receipt of a tetanus-diphtheria-
acellular pertussis (“Tdap”) vaccine on February 3, 2018, he suffered a shoulder injury
related to vaccination (“SIRVA”) as defined on the Vaccine Injury Table (the “Table”). The
case was assigned to the Special Processing Unit of the Office of Special Masters.




1 Because this unpublished opinion contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the opinion will be available to anyone with access to the internet.
In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or
other information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon
review, I agree that the identified material fits within this definition, I will redact such material from public
access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On August 19, 2021, I issued a ruling that Petitioner was entitled to compensation
for his SIRVA. ECF No. 28. On October 29, 2021, Respondent filed a proffer on an award
of compensation, to which Petitioner agrees. ECF No. 34 (attached hereto as Exhibit A).
Based on the record as a whole, I find that Petitioner is entitled to an award as stated in
the Proffer.

     Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $25,000.00 for pain and suffering. This amount represents
compensation for all damages that would be available under Section 15(a).

       The Clerk of the Court is directed to enter judgment in accordance with this
decision.3

        IT IS SO ORDERED.
                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS

STEVEN S. FLOYD,                                     )
                                                     )
                        Petitioner,                  )
                                                     )
         v.                                          ) No. 19-707V
                                                     ) Chief Special Master Brian Corcoran
SECRETARY OF                                         )
HEALTH AND HUMAN SERVICES,                           )
                                                     )
                        Respondent.                  )
                                                     )

                RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

        On May 14, 2019, Steven S. Floyd (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, as amended (“the Vaccine Act” or “the

Act”), 42 U.S.C. §§ 300aa -1 to - 34, alleging that he suffered a Shoulder Injury Related to

Vaccine Administration (“SIRVA”) as a result of a tetanus-diphtheria-acellular pertussis

(“Tdap”) vaccine that he received on February 3, 2018. Petition at 1. On August 19, 2021, the

Chief Special Master issued Findings of Fact and Ruling on Entitlement, finding that petitioner

was entitled to vaccine compensation.1 See Findings of Fact and Ruling on Entitlement (ECF

#28).

        I.       Items of Compensation

         Based on the evidence of record, respondent proffers that petitioner should be awarded

$25,000.00 in pain and suffering. See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.




1
 Respondent has no objection to the amount of the proffered award of damages set forth herein.
Assuming the Special Master issues a damages decision in conformity with this proffer,
respondent waives his right to seek review of such damages decision. However, respondent
reserves his right, pursuant to 42 U.S.C. § 300aa-12(e), to seek review of the Chief Special
Master’s August 19, 2021 entitlement decision.
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This amount represents all elements of compensation to which petitioner would be entitled under

42 U.S.C. § 300aa-15(a). Petitioner agrees.

      II.       Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment of $25,000.00 in the form of a check payable to petitioner.2

                                              Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Acting Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              HEATHER L. PEARLMAN
                                              Deputy Director
                                              Torts Branch, Civil Division

                                              TRACI R. PATTON
                                              Assistant Director
                                              Torts Branch, Civil Division

                                              s/ LARA A. ENGLUND
                                              LARA A. ENGLUND
                                              Assistant Director
                                              Torts Branch, Civil Division
                                              U.S. Department of Justice
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                                              Washington D.C. 20044-0146
                                              Tel: (202) 307-3013
                                              E-mail: lara.a.englund@usdoj.gov

Dated: October 29, 2021




2
 Should petitioner die prior to the entry of judgment, respondent reserves the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future pain and suffering, and future lost wages.


                                                 2
